                                                                                                                         "ffq         ^^r*""T^^T]l
                                                                                                                          i'.i            I^t'{_.
                                                                                                                          J^^-tL-.KJ" <i^ii—-i;—' ^- """' ^ _ _^_ .n,


                                                                                                                          ~xl23JUL10p^:OQ
  Debtor 1 TREVOR_                        DOUGLAS                 RE1D
                 First Name


  Debtor 2       N/A
  (Spouse, iffiling) FiretName MkldteName


  United States Bankruptcy Court for the: Disbict of Arizona

  Case number 2:23-bR~03897-EPB                                                                                                         a Check if this is an
                 Of known)                                                                                                                 amended filing




Official Form 106Sum
                                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are fifing amended scheduies after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


             Summarize Your Assess



                                                                                                                                  Your assets
                                                                                                                                   Value of what you own

1. Scftedu/e AB; Property (Offidal Fomi 106A/B}
    la. Copy line 55, Total rea) estate, from Schedule A/Q.                                                                                             ^
    lb.Copyiine62.Tota! persona! property, from Schedule A/B.                                                                               z^^/^Z^0
    1 c. Copy iine 63, Tota! of ati property on Schedule A/B                                                                            sT.o9-/.2Jr~


             Summarize Your LiabiHties



                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $


3. Schedule E/F: Creditors Who Have Unsecured Claims (Ofiiciaf Fonn 106E/F)
   3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.



                                                                                                        Your total liabilities



             Summarize Your income and Expenses


4. Schedule I: Yourinwme (OfficEai Form 1061)
   Copy your combined monthly income from line 12 of Schedule I.

5. Schedule J: Your Expenses (Offidai Form 106J)
   Copy your monthly expenses from fine 22c of Schedule J




Official Form lOSSurn                      Summary of Your Assets and Liabilities and Certain Statistical Information                            page 1 of 2

      Case 2:23-bk-03897-EPB                           Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                               Desc
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    Debtor 1        TREVOR                   DOUGLAS                    REID                           Case number {itknawn\   2:23-bk-03897-EPB



                   Answer These Questions for Administrative and Statistical Records


    6. Are you filing for bankmptcy under Chapters 7,11, or 13?

        D No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        Q Yes


    7. What kind of debt do you have?

               Your debts are primarily consumer debts. Consymerdebfe are those "incurred by an indh/iduai primarily for a personal,
               family, or household purpose." 11 U.S.C. § 101(8). Fiil out !ines8-9g for statisticai purposes. 28 U.S.C. § 159.

        a Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



       From the Statement of Your Current Monthly Income: Copy your totai current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 3,021.15




    9. Copy the foliowing special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                               Total claim


         From Part.4 on Schedule E/F, copy the fofiowmg:



       9a. Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


       9c- Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


       9d. Student loans. (Copy !ine 6f.)


       9e. Obligations arising out of a separation agreement or dh/orce that you did not report as ^
           prionty claims. (Copy line 6g.)


       9f- Debts to pension or profit-shanng ptans, and other similar debts. (Copy line 6h.)                +$„




       9g. Total. Add lines 9a trough 9f.




Official Form 106Sum Summary ofYour Assets and Liabiiittes and Certain Statistical tnfomiation                                                page 2 of 2

          Case 2:23-bk-03897-EPB                            Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                        Desc
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Debtor 1
                   TREVOR                DOUGLAS                   REID
                   FiretName

Debtors            N/A
(Spouse, fffiflng) RistName MiidteName


United States Bankruptcy Court forthe: District of Arizona

Case number 2:23-bk-03897-EPB
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 106A/B
                                                                                                                                                           12/15

In each category, separately !ist and describe items. List an asset only once. If an asset fits in more than one category, !ssf the asset in the
category where you think it fits best Be as complete and accurate as possible. If two married people are filing together) both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


             Describe Each Residence, Building, Umd, or Other Real Estate You Own or Have an Interest in

1. Do you own or have any iegai or equitable interest in any residence, building, land, or similar property?

   8l No.GotoPart2.
   01 Yes. Where is the property?
                                                                    What is the property? Check ast that apply.       Do not deduct secured daims or exemptions. Put
                                                                    Q Single-family home                              the amount of any secured dams on Schedule D:
                                                                                                                      CrecStors Who Have Claims Secured by Property.
    1.1.                                                            Q Duplex or muiti-unit buiidsng
            Street address, if available, or other ciescripSon
                                                                    Q Condominium or cooperative                      Current value of the Current value of the
                                                                    [-I Manufactured or mobile home                   entire property? portion you own?
                                                                    Q Land
                                                                    Q Investment property
                                                                    Q Timeshare                                       Describe the nature of your ownership
            City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                    Q Other.                                          the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.

                                                                    I..] Debtor 1 on!y
            County                                                  Q Debtor 2 oniy
                                                                                                                      a Check ifyiis is community property
                                                                    Q Debtor 1 and Debtor 2 oniy
                                                                                                                         (see instructions)
                                                                    Ql At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
   If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.        Do not deduct secured dams or exemptions. Put
                                                                   LI Srngle-family home                              the amount of any secured daims cm Schedule D:
                                                                                                                      Creditors Who Have Clams Secured by Property.
    1.2.
                                                                   Q Duplex or muiti-unit buifding
           Street address, if avaslabte, or other description
                                                                   Q Condominium or cooperative                       Current value of the Current value of the
                                                                   Q Manufactured or mobile home                      entire property? portion you own?
                                                                   Q Land
                                                                   Q Investment property
                                                                                                                      Describe the nature of your ownership
                                                                   LI Timeshare
           City                             State ZIP Code                                                            interest (such as fee simpie, tenancy by
                                                                   1-1 Other.                                         the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.

                                                                   [..I Debtor 1 only

           County
                                                                   Q Debtor 2 oniy
                                                                   Q Debtor 1 and Debtor 2 only                       LI Check EfUiis is community property
                                                                   Q At !east one of the debtors and another             (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:



Official Form 106A/B                                               Schedule A/B: Property                                                             page 1

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 Debtor 1          TREVOR                 DOUGLAS                    REID                                  Case number (fffuic      2:23-bk-03897-EPB



                                                                     What is the property? Check. all that apply.                Do not deduct secured daims or exemptions. Put
                                                                     Q Single-family home                                        the amount of any secured daims on Schedule D:
     1.3.                                                                                                                        Creditors Who Have Claims Secured by Property.
             Street address, if avaiiable, or other descriptior!     Q Duplex or muitt-unit building
                                                                     Q Condominium or cooperative                                Current value of the Current value of the
                                                                                                                                 entire property? portion you own?
                                                                     Q Manufactured or mobile home
                                                                     Q Land
                                                                     Q Investment property
            City                              StateZIP Code Q Ttmeshare                                                          Describe the nature of your ownership
                                                                                                                                 interest (such as fee simple, tenancy by
                                                                     Q Other.                                                    the entireties, or a life estate), if known.

                                                                     Who has an interest in the property? Check: one-

                                                                     a Debtor 1 only
            County
                                                                     Q Debtor 2 only
                                                                     Q Debtor 1 and Debtor 2 only                                Q Check if this is community property
                                                                                                                                    (see instructions)
                                                                     Q At ieast one of the debtors and another

                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:



2, Add the dollar value of the portion you own for ai! of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here.




              Describe Your Vehicies


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives, if you lease a vehide, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   ^ No
   D Yes

    3.1. Make:
                                                                     Who has an interest in the property? Ched( one.             Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured daims on Schedufe D:
                                                                     Q Debtor 1 only
            Model:                                                                                                               CrecStors Who Have Claims Secured by Property.
                                                                     Q Debtor 2 only
            Year                                                                                                                 Current value of the      Current value of the
                                                                     Q Debtor 1 and Debtor 2 only
                                                                                                                                 entire property?          portion you own?
            Approximate mileage:                                     Q At ieast one of the debtors and another
            Other information:
                                                                     Q Check if this is community property (see
                                                                       instructions)



   If you own or have more than one, describe here:

                                                                     Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
   3.2. Make:
                                                                                                                                 the amourrt of any secured claims on Schedule D:
            Model:                                                   a Debtor 1 on!y                                             CredHora Who Have Claims Secured by Property.
                                                                     a Debtor 2 oniy
            Year-                                                                                                                Current value of the Current value of the
                                                                     Q Debtor 1 and Debtor 2 only
                                                                                                                                 entire property? portion you own?
            Approximate mileage:                                     Q At least one of the debtors and another
            Other information:
                                                                     ^ Check if this is community property (see
                                                                        instnjctions)




OfRcfa!Form106A/B                                                    Schedule A/B: Property                                                                        page 2
        Case 2:23-bk-03897-EPB                                     Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                                 Desc
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 Debtor 1       TREVOR             DOUGLAS               REID                                 Case number wtwwm\   2:23-bk-03897-EPB




            Make:                                       Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
    3.3.
                                                                                                              the amount of any secured ctaims on Schedule D:
            Mode!:                                       Q Debtor 1 oniy                                      Creditors Who Have Claims Secured by Property.
                                                         Q Debtor 2 on!y
            Year                                                                                              Current value of the Current value of the
                                                         Q Debtor 1 and Debtor 2 oniy
                                                                                                              entire property? portion you own?
            Approximate mileage:                         Q At least one of the debtors and another

            Other information:
                                                         Q Check if this is community property (see
                                                           instructions)


            Make:                                       V/ho has an interest in the property? Check one.      Do not deduct secured dams or exemptions. Put
    3.4.
                                                                                                              the amount of any secured claims on Schedule D:
            Model;                                      Q Debtor 1 only                                       Cretffora Who Have Claims Secured by Property.
                                                        0 Debtor 2 oniy
            Year                                                                                              Current value of the Current value of the
                                                        Q Debtor 1 and Debtor 2 oniy
                                                                                                              entire property? portion you own?
            Approximate mileage:                        Q At least one of the debtors and another

            Other information:
                                                         Q Check if this is community property (see
                                                           instructions)




4. WatercrafE, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessones
   Examples: Boats, traiiers, motors, persona! watercraft, fishing vessels, snowmobiles, motorcycle accessories

   ^ No
   a Yes

                                                        Who has an interest in Vhe property? Check one.      Do not deduct secured claims or exemptions. Put
    4.1. Make:
                                                                                                             the amount of any secured daims on Schedule 0:
                                                        Q Debtor 1 only
            Modei:                                                                                           CrecBlors Who Have Claims Secured by Property.
                                                        Q Debtor 2 only
            Year
                                                        Q Debtor 1 and Debtor 2 on!y                         Current value of the Current value of the
            Other information:                          Q At least one of the debtors and another            entire property? portion you own?


                                                        Q Check if this is community property (see
                                                          instructions)



   !f you own or have more than one, iist here:
                                                        Who has an interest in the property? Check one.      Do not deduct secured claims or exemptions. Put
   4.2. Make:
                                                                                                             the amount cS any secured daims on Schedule D:
                                                        a Debtor 1 only
            Modet:                                                                                           CrecEtors Wfio Have CSsSms Secured by Property.
                                                        Q Debtor 2 only
            Year                                                                                             Current value of the Current value of the
                                                        Q Debtor 1 and Debtor 2 only
                                                                                                             entire property? portion you own?
            Other information:                          Q At ieast one of the debtors and anotiier


                                                        Q Check if this is community property (see
                                                          instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here




OfRcialForm106A/B                                        Schedule A/B: Property                                                                page 3

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  Debtor 1     TREVOR               DOUGLAS                 RE1D                                  Case number (iftotmw?
                                                                                                                          2:23-bk-03897-EPB



              Describe Your Personal and Household Items

                                                                                                                                    Current vaiue of the
 Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                    portion you own?
                                                                                                                                     Do not deduct secured claims
                                                                                                                                    or exemptions.

6. Household goods and furnishings
    Examples'. Major appliances, furniture, linens, china, krtchenware

    Q No
    ^ Yes. Describe......... furniture, linens, dishes, kitchen equipment, espresso machine                                                           1,200.00

7. Eiectronics

    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including celi phones, cameras, media players, games

        No
        Yes. Describe......... 2 television, 4 laptop computers, 1 desktop computer, digital camera,                                                 10,000.00
                              printer/s(^nner,keybc^r(l,3ceJJ_phQBes,obspJete_eIeQtrQnjcs
8. CoHectibfes of value

    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or basebaii card coltecSons; other coilections, memorabilia, coiiectibles
    Q No
    Si Yes- Describe......... coins, trading cards, book, memorabiiia, collectible toys                                                              1,500.00

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, sRis; canoes
              and kayaks; carpentry tools; musica! instruments

    Q        No       ..._-_.

    0 Yes. Describe.......... bicycle, hand and power carpentry toois, violin, compound bow                                                          1,000.00

10. Firearms

   Examples^ Pistols, rifles, shotguns, ammunition, and related equipment
    Q No
    ^ Yes. Describe.......... 3 pistols, 2 shotguns, 3 rifles, air rifle, air pistol, ammunition and related                                         2,700.00
                             -equipment-
11. Clothes

   Examples: Everyday ciothes, lurs, leather coats, designer wear, shoes, accessories
   0 No
   S[ Yes. Describe.„....-., clothing, shoes, accessories                                                                                            1,000.00


12. Jewelry

   Bfamples: Everyday jewelry, costume Jewelry, engagement rings, wedding rings, heirloom Jewefry, watches, gems,
             gold, silver
   a No
   Sf Yes. Describe.---..wedding gold, silver, heirioom jewefry, costume jewelry, 2 fitbit watches                                                     770.00

13. Non-famn animals

   Examples: Dogs, cats, birds, horses

       No
   0 Yes. Describe........... -| <jog^ 1 cat (emotional support animals)                                                                              300.00

14. Any other personal and household items you did not already list, including any health aids you did not list

   ^& No
   Q Yes. Give specific
       information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                    19.470.00
   for Part 3. Write that number here



Official Form 106A/B                                       Schedule A/B: Property                                                                page 4
        Case 2:23-bk-03897-EPB                         Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                           Desc
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 Debtor 1     TREVOR DOUGLAS REID                                                              Case number (fftooun)
                                                                                                                       2:23-bk-03897-EPB
               First Name MHd!e tome




            Describe Your FlnancEaE Assets


Do you own or have any legal or equitable interest in any of the following?                                                        Current vaiue of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured daims
                                                                                                                                   or exemptions.



16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   a No
   ^ Yes.                                                                                                     Cash:                                  33.00



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other simifar inslihjtions- If you have multiple accounts with She same insfa'tution, list each.

   a No
   1^ Yes.                                                      Institution name:



                              17.1.Checking account:            Fidelity                                                                             40.00

                              17.2. Checking account:           Fidelity                                                                             31.58

                              17.3. Savings account:

                              17.4. Savings account

                              17.5. Certificates of deposit:

                              17.6. Other financial account Fidelity fBROKERAGE)                                                                    393.45
                              17.7. Otherfinandal account Fldefitv (IRA)                                                                                2.55

                              17.8. Other financial account CQinbase.                                                                                20.90

                              17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond liinds, investment accounts with brokerage firms, money market accounts

   Q No
       Yes................. tnstrtution or issuer name:



                              See Fidelity brokerage account under 17.6 above




19. Non-publicly traded stock and interests in mcorporated and umncorporated businesses, including an interest in
   an LtC, partnership, and joint venture

       No         Name                    of       entity:                  %       of   ownership:
   Q        Yes.                            Give                           specific                               %
   information about
      them.........................                                                 .    ___        ^       -     _%




Officia!Form106A/B                                             ScheduieA/B: Property                                                            pages

        Case 2:23-bk-03897-EPB                            Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                       Desc
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  Debtor 1 TREVOR DOUGLAS REfD Case number ^^2:23^-03Q97-EPB
                 Fiist Name Middle Msme Last Name




 20. Government and corporate bonds and other negotiable and non-negotsabie instruments
    Negotiable instruments include persona! checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    ^ No
    Q Yes. Give specific Issuer name:
        information about
      - them.




21. Retirement or pension accounts
    Exampfes: interests in iRA, ERiSA, Keogh, 401 (k), 403(b), fririft savings accounts, or other pension or profit-sharing pians

    a No
    Si Yes. List each
        account separately. Type of account: Institution name:


                                401(i<)orsimi!arp!an:

                                Pension                                    plan:                         _          ._        $.


                                JRA: See Fidelity IRA under 17.7 above ___ 5

                                Retirement account: _ ...._ ,,,.__ ....._ .,__ ..,___ S


                                Keogh:                                                          __                      $.


                                Additionai account: _ ,,.._ ,..,,_ .,_._ ..,,.._ ..._...__ $


                                AddiSonai account:




22. Security deposits and prepaymenfs
   Your share of ail unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

    1-1 No

       Yes „....-....-....-.....„. Institution name or individuai:


                                Electric
                                                                                                                                    ^
                                Gas:
                                                                                                                                    $-

                                Heating oil:
                                                                                                                                    5.
                                Secunty deposit on rental unit: 2121 N 44th St #4412 (ArLo)
                                                                                                                                    s       900.00
                                Prepaid rent
                                                                                                                                    $-

                               Telephone:
                                                                                                                                    ^
                               Water
                                                                                                                                    s.

                                Rented furniture:
                                                                                                                                    s_
                               other Unretumed securtiy deposit for rental unit (Arcadia Walk)                                               99.00
                                                                                                                                    $-.




23.Annuities (A contract for a periodic payment of money to you, either for fife or for a number of years)

   at No
   Q Yes......................... Issuer name and description:




Official Form 106A/B Schedule A/B: Property page 6

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  Debtor 1 TREVOR DOUGLAS                                     REID                                  Case number wKno«w; 2:23-bk-Q3897-EPB_




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).


    a Yes                              institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):




                                                                                                                                             s-



25. Trusts, equitable or future interests in property (other than anything listed in line 1), sncf rights or powers
    exercisabie for your benefit

    el No
    d           Yes.                                Give                          specific                                           :
        informafion                                               about                        them-...                               $


26. Patents, copyrights, trademarks, trade secrets, and other inteliectual property
    Examptes: Internet domain names, websites, proceeds from royalties and licensing agreements
    a No
    S3 Yes. Give specific Registered copyright in TakeMePins design, copyright in open source
       information about them.... software published on github under account name:tdreid $—u^


27. Licenses, franchises, and other genera! intangibles
    Examples'. Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

    Zi No
    Q Yes. Give specific
       information                                                 about                         them-..                             S



Money or property owed to you? Current value of the
                                           portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             ciaims or exemptions.


28. Tax refunds owed to you

   !ZJ No
    Q Yes. Gh/e specific information Federal:
            about them, including whether
            you already fiied the returns State: S.
             and the tax years-
                                                                                                                  Local: $



29. Family support
    Examples: Past due or lump sum alimony, spousa! support, child support, maintenance, divorce settlement, property settlement
   ^ No
   Q Yes. Give specific information..............
                                                                                                                 Alimony: $

                                                                                                               : Maintenance: $

                                                                                                                 Support; $

                                                                                                                 Divorce settlement: $_

                                                                                                               . Property settlement: $..


so. Other amounts someone owes you
    Examples: Unpaid wages, disabii'rty insurance payments, disabiiity benefits, sick pay, vacation pay, workers' compensation,
               Social Security benefits; unpaid loans you made to someone else
   1-1 No
   0 Yes. Gh/e specific information............... unpaid unemployment benefits, denied disability benefits on ^0
                                                    appeal                                              $——^

Official Form 106A/B Schedule A/B: Property page 7
        Case 2:23-bk-03897-EPB                          Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                                Desc
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 Debtor 1 TREVOR DOUGLAS                                        RE1D                                     Case number i./fiwown]   2:23-bk"03897-EPB
                 First Name Middle Name




31. Interests in insurance policies
    Examples: Health, disability, or iife insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    a No
    gl Yes. Name^the insurance company company name: Benefidsry:                                                                                     Stirrender or refund value:
              of each policy and list its value....
                                                      HealthEquity, Inc. Crystate Reason                                                                                16.44




32. Any interest in property that is due you from someone who has died
   if you are the beneficiary of a living bust, expect proceeds from a life insurance policy, or are currentiy entitled to receive
   property because someone has died.

   21 No
   Q Yes. Give specific information.



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   a No
   [2 Yes. Describe each claim. ................. Reid v. U.S. Department of the Interior, D. Arizona 2:22-cv-00068,
                                                                                                                                                    $ 1,000,000.00

34, Other contingent and unliquidatedclaimsof every nature, including counterclaims of the debtor and rights
   to set off claims
   a No
     Yes. Describe each ciaim. Counter claims to 6eiRieciv7ArL6
                                 PMASTL ~                                                                  s      1,000,000.00



35. Any financial assets you did not already list

   S3 No
   0 Yes. Give specific information.



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here                                                                                                                       2,021,787.00




             Describe Any Business-Reiated Property You Own or Have an Interest In. List any real estate in Part 1.


37. Do you own or have any legal or equitable interest in any business-related property?
   3 No. Go to Part 6.
   Q Yes. Go to line 38.

                                                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured dams
                                                                                                                                                  or exemptions.


38. Accounts receivable or commissions you already earned

   a No
   01 Yes. Describe.......




39. Office equipment, furnishings, and supplies
   examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, teiephones, desks, chairs, electronic devices

   0 No
   Q Yes. Describe.......




Official Form 106A/B                                            Schedule A/B: Property                                                                          pageS

         Case 2:23-bk-03897-EPB                           Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                                          Desc
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 Debtor 1 TREVOR DOUGLAS REID Case number ^^ 2:23-bk-03897-EPB
                     First Name httldte Name Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

    Q No
    a Yes. Describe.......




41. Inventory
    Q ^JQ
    Q                   Yes-                  Describe.......                                                      $




42.1nterests in partnerships or joint ventures
   Q No
   Q Yes. Describe....... ^gme of entity: % of ownership:

                                                                                                                 -%   s

                                                                                                                 _% $_

                                                                                                                 .%   s


43. Customer iists, maHing lists, or other compilations
   Q No
   Q Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C- § 101 (41A))?

                 a No
                 Q Yes. Describe.-.-
                                                                                                                      . $-




44, Any business-related property you did not already list
   a No
   Q Yes. Give specific
          information.—..—

                                                                                                                       $-

                                                                                                                       s




45. Add the doHar value of all of your entries fronn Part S, including any entries for pages you have attached
   for Part 5. Write that number here




                 Describe Any Farm- and Commercial Fishang-Reiated Property You Own or Have an Snterest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   St No. Go to Part 7.
   Cl Yes. Go to line 47.

                                                                                                                      Current value of the
                                                                                                                      portion you own?
                                                                                                                      Do not deduct secured claims
                                                                                                                      or exemptions.

47. Farm animals
   Examples: Livestock, poultry, fann-raised fish

   Q No
   a   Yes.....................,...;"'




Official Form 106A/B                                     Schedule A/B: Property                                                    page 9
           Case 2:23-bk-03897-EPB                   Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                    Desc
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  Debtor 1 TREVOR DOUGLAS                                  RSD                               Case number ,„ 2:23-bk-03897-EPB
                  Firet Name Middle Mai




 48. Crops—either growing or harvested

    Q No
    Q Yes. Give specific:
        information.


 49. Farm and fishing equipment, impiements, machinery, fixtures, and tools of trade
    0 No
    Q Yes.




 50, Farm and fishing supplies, chemicals, and feed

    a No
    a Yes.




51. Any farm- and commercial fishing-reiated property you did not already list
    a No
    Q Yes. Give specific
        information.............




52, Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here




              Describe All Property You Own or Have an Interest in That You OEd Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country dub membership

        No
    Q Yes. Give specific
       information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                                  0.00



              LisS the TotaEs of Each Part of this Form


55. Part 1: Total real estate, fine 2                                                                                               0.00

56. Part 2: Total vehicles, line 5                                                    0.00

57. Part 3: Total personal and household items, line 15                        19,470.00

58. Part 4: Total financial assets, iine 36                                2,021,787.00

59. Part 5: Total business-relatetf property, line 45                  $ 0.00

60. Part 6; Total farm- and fishing-retated property, line 52                         0.00

61. Part 7: Total other property not listed, line 54                 +$_              0.00

62. Total personal property. Add lines 56 through 61................... $ 2,041,257.00 copy persona! property total -^ +$ ^'I^'2I>^-^




63. Total of all property on Schedule A!B. Add line 55 + iine 62.                                                      $ 2'041'257-00



Official Form 108A/B                                      Schedule A/B; Property                                                page 10
         Case 2:23-bk-03897-EPB                         Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                         Desc
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  Debtor 1       TREVOR                    DOUGLAS                     RE1D
                  First ^fame


  Debtor 2           N/A
  (Spouse, if filing) Fast Name Middte Maine


  United Staies Bankruptcy Court for the: District of Arizona

  Casen^er 2:23-bR-03897-EPB
                                                                                                                                    Q Check if this is an
   (If known}
                                                                                                                                       amended fiiing



 Official Form 106C
                                                                                                                                                  04/22

Be as complete and accurate as possible. If two married peopie are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Pmperty (Offidal Form 106A/B) as your source, iist the property that you daim as exempt, if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary- On the top of any addih'onaS pages, write
your name and case number (if known).

For each item of property you c)aim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specificdoliaramountasexemptAlteraativeIy,youmay claim the full fair market value of the property being exempted up to the smount
of any applicable statutory limit Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds — maybe unEimitedin dollar amount However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount


                Identify the Property You Claim as Exempt


 1. Which set of exemptions are you cEaiming? Check one only, even if your spouse is fjting with you.
      Q You are claiming state and federal nonbankruptcy exemptions. 1 1 U-S.C. § 522(b)(3)
      Q You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and fine on Current value of the        Amount of the exemption you claim Specific laws that allow exemption
       Schedule A® that lists this property           portion you own

                                                           Copy the value from   Check only one box for each exemption.
                                                           Schedule A/B

      Brief                                                                                                               33-1126(B)
      description:
                          retirement Accounts $                                  a$.

      Line from                                                                  Q 100% affair market vaiue, up to
      Schedule A/B:                                                                 any applicable statutory limit


      Brief
      description:
      Une from                                                                   [,.] 100% of fair market va!ue, up to
      Schedule A/B:                                                                   any applicable statutory limit

      Brief
      description:
      Line from                                                                  a 100% of fair market value, up So
      Schedule A/B:                                                                 any applicabie statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases ffled on or after the date of adjustment)

     ^ No
     Q Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          ^ No
          0 Yes


Official Form 106C                                         Schedule C: The Property You CEaim as Exempt                                     page 1 of.

         Case 2:23-bk-03897-EPB                          Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                      Desc
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Debtor 1       TREVOR                 DOUGtAS                 REID                       Case number yctamm) 2:23-bk-03897-EPB




      Brief description of the property and line    Current value of the Amount of the exemption you claim Specific laws thst allow exemption
      on Schedule A/B that lists this property      portion you own

                                                    Copy the va!ue from Check only one box for each exemption
                                                    Schedule A/B



                                                     $_ a$.
      Brief
     description:
                                                                           Q 100% affair market value, up to
      Line from
      Scheduie A/B:                                                           any applicable statutory limit

     Brief
     description:                                                         a?.
                                                                          Q 100% of fair market value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory limit


     Brief
     description:                                                         a$.
                                                                          0 100% of fair market value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory limit


     Brief
     description:                                                         a?.
                                                                          a 100% of fair market value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory limit

     Brief
     description:
                                                                          a 100% of fair market value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory limit


     Brief
     description:                                                         as.                                                      3.021.15
                                                                          D 100% of fair maricet value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory limit


     Brief
     description:                                                         Os.
                                                                          a 100% of fair marRet value, up to
     Line from
     Schedule A/B:                                                           any appiicabie statutory limit

     Brief
     description:
                                                                          1-3 100% of fair market value, up to
     Line from
     Schedule A/B:                                                            any applicable statutory iimit


     Brief
     description:
                                                                          Q 100% affair market value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory limit


     Brief
     description:                                                         a$.
                                                                          Q 100% of fair market value, up to
     Line from
     Schedule A/B:                                                           any applicable statutory Simrt

     Brief
     description:
                                                                          Q 100% of fair market vaiue, up to
     Line from
     Schedule A/B:                                                           any appiicabie statutory limit


     Brief
     description:
                                                                          Q 100% of fair market value, up to
     Line from
     Schedule A/B:                                                           any appiicabie statutory limit



Official Form 106C                                 Schedule C: The Property You Claim as Exempt                              page ^ of.

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                      [•Htlfil     t*ai>



 Debtor 1
                      First Name                   M(dd!e Name                   Last Maine


 Debtor 2
 (Spouse, iffflins) PirrtMame                      Mktdte Name                   Last Name



 United States Bankruptcy Court for the: District of Arizona

 Case number
  (If known)                                                                                                                              Q Check if this is an
                                                                                                                                             amended filing


 Official Form 106D
                                                                                                                                                           12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information, if more space is needed, copy the Additions! Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).


1- Do any creditors have claims secured by your property?
       Ml NO. Check this box and submit this fomi to the court wtth your other schedules. You have nothing else to report on this form.
              Yes. Ril in al) of the information betow.


                  List All Secured Claims
                                                                                                             Column A          Co/u/nn B Column C
2. List al! secured claims. if a creditor has more than one secured ciaim, list the creditor separately Amount of claim        Value of collateral Unsecured
    for each claim. If more than one creditor has a particular claim, list the ottier creditors in Part 2. DO not deduct the   that supports this portion
   As much as possible, list the claims in aiphabetical order according to tie creditor's name. valyg gf collaterai.           claim if any


        34th St Mini Storage                                Describe the property that secures the claim:
       Creditor's Nams
                                                           Personal household goods claimed as
        3447 SW 42 AVE
                         Street
                                                           exempt above
                                                            As of the date you file, the claim is: Check all that appiy.
                                                            Q Contingent
        GAINESV1LLE                    FL 32608             a Uniiquidafed
       City                           State ZIP Code             Disputed

  Who owes the debt? Check one.                             Nature of lien. Check all that appiy.
  ^ Debtor 1 only                                           Q An agreement you made (such as mortgage or secured
  Q Debtor 2 Orfy                                              car loan)
  Q Debtor 1 and Debtor 2 oniy                                   Statutory lien (such as tax lien, mechanic's lien)

         At least one of the debtors and another            Q Judgment lien from a iawsurt
                                                            Q Other (including a right to offset)
  a Check if this claim relates to a
         community debt
  Date debt was incurred                                    Last 4 digits of account number
2.2)                                                        Describe the property that secures the ciatm:
       Creditor's Name



                         Street

                                                           As of the date you file, the claim is: Check ail that apply.
                                                            0 Contingent
                                                            Q UnJiquidated
       City State ZIP Code                                  Q Disputed
  Who owes the debt? Check one.                            Nature of lien. Check a[! that apply.

  a Debtor 1 oniy                                           Q An agreement you made (such as mortgage or secured
  [J Debtor 2 on!y                                             car ioan)
  D Debtor 1 and Debtor 2 only                              a Statutory [Sen (such as tax lien, mechanic's iien)

  Q At ieast one of the debtors and another                 L.I Judgment iien from a lawsuit
                                                           Q Other (inctuding a right to offset)
  [J Check if this claim relates to a
         community debt
  Date debt was incurred                                   Last 4 digits of account number

       Add the dollar vaiue of your entries in Column A on this page. Write that number here:


Official Form 1Q6D                                 Schedule D: Creditors Who Have Ciaims Secured by Property                                  page 1 of.
               Case 2:23-bk-03897-EPB                             Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                  Desc
                                                                  Main Document    Page 15 of 39
      Debtor 1 TREVOR                           DOUGLAS                      REID
                       First Name


      Debtors          N/A
      (Spouse, (ffiling) RratNsme MidilteMame


      United States Bankruptcy Court for the: District of Arizona
                                                                                                                                                   Q Check ifthis is an
      Case number 2:23-bk-03897-EPB
      (If known)                                                                                                                                      amended filing


 OfficlaiForm 106E/F
                                                                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on ScAedu/e
 A/B: Property (Official Form 1 06A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Officia! Form 10S<3). Do not inciude any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fifl It out, number the entiies in the boxes on the left. Atech the Continuation Page to this page. On fhe top of
 any additional pages, write your name and case number (if known).

                   Ust All of Your PRIORITy Unsecured CEaims

 1. Do any credEtors have priority unsecured cfaims against you?
        Q No. Go to Part 2.
        Q Yes.
 2. List ail of your priority unsecured claims, if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
     each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that daim here and show both priority and
     nonpriority amounts. As much as possifaie, list the daims in aiphabeticaf order according to the creditor's name- if you have more than two priority
     unsecured claims, fill out the Continuation Page of Part 1 . It more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type ofciaim, see the instructions for this form in the instruction bookiet.}
                                                                                                                                     Total claim Priority Nonpriority
                                                                                                                                                 amount amount

2.1
                                                                    Last 4 digits of account number
          Pnority Creditor's Name

                                                                    When was the debt incurred?
          Number Street

                                                                    As of the date you file, the claim is: Check a!! that apply,

                                                                    a Contingent
         City                           State    ZiP Code
                                                                    Q UnSiqu idated
         Who incurred the debt? Check one.
                                                                    Q Disputed
          D Debtor 1 only
          Q Debtor 2 only                                           Type of PRIORITY unsecured claim:
          a Debtor 1 and Debtor? oniy
                                                                    Q Domestic support obligations
          Q At Seast one of the debtors and another
                                                                    Q Taxes and certain other debts you owe the government
          Q Check if tihis claim is for a community debt            0 Claims for death or personal injury while you were
                                                                        intoxicated
         Is the claim subject to offset?
          a No                                                      Q Other. Specify.

         a Yes

s        Priorily Creditor's Name
                                                                    Last 4 digits of account number
                                                                    When was the debt Encurred?

         Number Street
                                                                    As of the date you file, the claim is: Checii; ail that apply.

                                                                    Q Contingent
         City                           State Zip Cods              a Uniiquiciated

         Who incurred the debt? Check one.                          a Disputed
         Q Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
         Q Debtor 2 only
                                                                    Q Domestic support obligations
         Q Debtor 1 and Debtor 2 only
                                                                    Q Taxes and certain other debts you owe the govemmeni
         Q At ieast one of the debtors and another
                                                                    a Claims for dsafh or personal injury while you were
         Q Check if this ciaim is for a community debt                  intoxicated
         is the claim subject to offeet?                            Q Other. Specrfy.
         a No
         a Yes


Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of.
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 Debtor 1       TREVOR                    DOUGLAS                REID                              Case number (iffmoim.i J^-A<J~l-"*t'*u*^u'71"'
                 First Name Midcfte Maine Last Name



                Your PRiORITy Unsecured Claims -- Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim Priority Nonpriority
                                                                                                                                             amouni amount


a     Priority Creditor's Name
                                                           Last 4 digits of account number


                                                           When was the debt incurred?
      Number Streei

                                                           As of the date you fiie, the claim is: Check all that apply.

                                                           Q Contingent
      City                                    ZIP Code      D Uniiquiciated
                                                           Q Disputed
      Who incurred the debt? Check one.

       Q Debtor 1 only                                     Type of PR10RETY unsecured ciaim:
       Q Debtor 2 only
                                                           0 Domesticsupportobligations
       a Debtor 1 and Debtor 2 only
                                                           Q Taxes and certain other debts you owe the government
       Q At least one of the debtors and another
                                                           Q Ciaims for death or persona! injury whsfe you were
                                                              [Fitoxicated
      01 Check if this cfaim is for a community debt
                                                           Q Other. Specify,

      [s the claim subject to offset?
      Q No
      U Yes


                                                           Last 4 digits of account number _ _ _ _
      Prioifty Creditor's Name

                                                           When was the debt incurred?
      Number Street

                                                           As of the date you file, the claim is: Check all that appiy.

                                                           Q Contingent
      City                            State   ZIP Code     Q Unliquidafed
                                                           a Disputed
      Who incurred the debt? Check one.

      Q Debtor 1 only                                      Type of PRIORITY unsecured claim:
      Q Debtor 2 only
                                                           a Domestic support ofcriigations
      Q Debtor 1 and Debtor 2 only
                                                           d Taxes and certain other debts you owe the government
      Q At ieast one of the debtors and another
                                                           a Claims for death or personal injury whiie you were
                                                               intoxicated
      Q Check if this claim is for a community dsbt
                                                           a Other. Specify.

      Is the claim subject to offset?
      Q Ho
      a Yes

                                                           Last 4 digits of account number
      Priohty Creditor's Name

                                                           When was the de&t incurred?
      Number Street

                                                           As of the date you file, the claim is: Check all that appiy.

                                                           a Contingent
      City                            State                0 Unliquidafed
                                                           Q Disputed
      Who incurred the debt? Check one.

      Q Debtor 1 only                                      Type of PRIORITY unsecured claim:
      Q Debtor 2 oniy
                                                           ^ Domestic support abfigations
      Q Debtor 1 anc! Debtor 2 oniy
                                                           Q Taxes and certain other debts you owe the government
      a At least one of the debtors and another
                                                           a Claims for death or persona! injury while you were
                                                               intoxicated
      Q Check if this claim is for a coromunJty debt
                                                           Q Other. Specify.

      Is the claim subject to offset?
      Q No
      Q Yes


Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               page _ of.
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 Debtor 1       TREVOR                   DOUGLAS                    REID                            Case number (fftomm;
                                                                                                                           2:23-bk-03897-EPB


               List All of Your MONPRIORITV Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
     Q No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     a Yes

 4. Listaiiofyournonpriorityunsecured claims in the aiphabetical order of the creditor who hoids each claim. If a credhor has more than one
     nonpriority unsecured daim, iisttiiecareditor separately for each daim. For eadiciaim listed, identify what type of daim it is- Do not iist claims already
     included in Part 1. If more than one creditor holds a pariicutar daim, list the other credEtors in Part 3.1f you have more than three nonpriorityunsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                    Total claim

                                                                              Last 4 digits of account number_ _ _
      Nonprtority Creditor's Name
                                                                              When was the debt incurred?

                      Street


      City                          State                                     As of the date you fife, the claim is: Check ail that apply.

                                                                              0 Contingent
      Who incurred the debt? Check one.                                       Q Unliquidated
       Q Debtor 1 oniy                                                        Q Disputed
       a Debtor 2 only
       Q Debtor 1 and Debtor 2 on!y                                           Type of NONPRIORITT unsecured claim:
       Q At least one of the debtors and another                              Q Student loans
                                                                              Q Obligations arising out of a separation agreement or divorce
      !-1 Check if this claim is for a community debt
                                                                                 thst you did not report as priority claims
      is the cfaim subject to offeet?                                         Q Debts to pension or profrt-sharing pians, and other similar debts
      Q No                                                                    i-J Other. Specify,
      a Yes

                                                                              Last 4 digits of account number
      Nonpriority Creditor's Name                                             When was the debt incurred?


                      Street
                                                                              As of the date you file, the cfaim is: Check ali Ihat apply.

      City                      State                     3P Code
                                                                              Q Contingent

      Who incurred the debt? Check one.                                       Q Unliquidated
                                                                              Q Disputed
      L3 Debtor 1 only
      D Debtor 2 only
                                                                              Type of NOKPRIORiTS^ unsecured cfaim:
      Q Debtor 1 and Debtor 2 only
      Q At ieasi one of the debtors and another                               0 Student loans
                                                                              a Obiigations arising out of a separation agreement or ciivorce
      Q Check if this claim is for a community debt                              that you did not report as priority ciaims

      [s the claim subject to offset?                                         a Debts to pension or profit-sharing plans, and other similar debts

      Q No                                                                    Q Other. Specify.

      a Yes

                                                                              Last 4 digits of account number
      Nonpriority Credrtor's Name
                                                                              When was the debt incurred?

      Number          Street

                                                                             As of She date you file, the claim is: Check ail that apply.
      Cfty                      State

                                                                              Q Contingent
      Who incurred the debt? Check one.
                                                                              Q Un liquidated
      Q Debtor 1 only
                                                                              Q Disputed
      Q Debtor 2 only
      L3 Debtor 1 and Debtor 2 only                                           Type of NONPRIORITY unsecured claim:
      a At least one of the debtors and another
                                                                              Q Student loans
      Q Check if this claim is for a community debt                           Q Obligations arising out of a separation agreement or divorce
                                                                                 that you die! not report as priority claims
      Is the claim subject to offset?
                                                                              0 Debts to pension or pFuFt-sharing plans, and other similar debts
      a No
                                                                              Q Other. Specify.
      a Yes



Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                     page_of.
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Debtor 1 TREVOR                      DOUGLAS                     REID                       Case number (if?oiam)_   2:23-bk-03897-EPB


            Add the Amounts for Each Type of Unsecured Claim



 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C.§159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim


               6a. Domestic support obligations 6a.
Total claims
from Part 1
               6b. Taxes and certain other debts you owe the
                   government                                             6b.


               6c. Claims for death or personal injury while you were
                   intoxicated                                            6c.


               6d. Other. Add all other priority unsecured daims.
                   Write that amount here. 6d.




               6e- Total. Add lines 6a through 6d.                            6e.




                                                                                      Total claim


               6f.       Student                        loans             6f.
Total claims
from Part 2
               6g. Obligations arising out of a separation agreement
                   or divorce that you did not report as priority
                   claims                                        6g.

               6h. Debts to pension or profit-sharing plans, and other
                  similar                           debts                 6h.


               6i. Other. Adcf a!I otfier nonpriority unsecured claims.
                   Write that amount here.                                    6i. +



               6j. Total. Add lines 6f through 6L                             6J.




Official Form 106E/F                                Schedule E/F; Creditors Who Have Unsecured Claims                                    page_of.
        Case 2:23-bk-03897-EPB                          Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                  Desc
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  Debtor
                    First Name                   Middte Name            Last Name


  Debtor 2
  (Spouse If filing) RistNsme                    MsddteNsme             Last Name



  United States Banicruptcy Court for the: District of Mzona

  Case number
  (If i(novm)                                                                                                                               Q Check if this is an
                                                                                                                                               amended fifing


OfficiaEForm 106G
                                                                                                                                                         12/15

Be as complete and accurate as possible, if two married people are filing together, both are equally responsible for supplying correct
informatton. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to Siis page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?

      Q No. Check this box and fiie this form with the court with your other schedules. You have nothing else to report, on this form.
             Yes- Fifi in ai! of the information be!ow even if the contracts or leases are listed on Schedule A/B: Property (OfEicia! Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, ceil phone). See the instructions for this form in the instruction booklet for more examples of exeartoryconfracts and
      unexpired leases.




      Person or company with whom you have the contract or lease                                 State what the contract or lease is for



21 I^ARK-TAYLOR RESIDENTIAL, !NC                                                           Rented apartment unit 4412 at creditor's address
      Name
      2121 N 44TH ST
      Number Street
       PHOENIX                         AZ             85008
      Crty                                State ZIP Code

2.2
      34TH STREET MINI STORAGE                                                            Self storage unit containing household goods
      Name
      3447SW42AVE
      Number Street
      GAINESVtLLE                      FL             32608
      City                               State        Zip Code
2.3

      Name


      Number Street


      City                               State        ZiP Code

2.4

      Name


      Number Street


      City                               State        ZIP Code

2.5

      Name


      Numbsr Street


      City                               State Zip Code



Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of.

           Case 2:23-bk-03897-EPB                              Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                         Desc
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  Debtor 1
                     First Name                      Middle Name               Last Name


  Debtor 2
  (Spouse, iffiiing) First Name                      Middle Name               Last Name



  United States Bankruptcy Court for the: District of Arizona

  Case number
  (if known)
                                                                                                                                          Check If this is an
                                                                                                                                          amended filing

Official Form 106H
                                                                                                                                                    12/15
Codebtors are people or entities who are also [iabte for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additiona! Page, fif! it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (rf known). Answer every question.


  1. Do you hgye any codebtors? (If you are filing a joint case, do not fist either spouse as a codebtor.)
      a

  2. Within the fast 8 years, have you lived in a community property state or teiTitory?(Commun/'typropert/sfafes and tem'tones include
      Arizona, CaSifomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      Q No. Go to line 3.
      Q Yes. Did your spouse, former spouse, or lega! equivalent live with you at the time?

           a No
           Q Yes. In which community state or territory did you live? _. Fill in the name and current address of that person.



                 Name of your spouse, former spouse, or tegal equivalent



                 Number Street



                 City                                          State


 3. In Column 1, iist ail of your codebtors, Do not include your spouse as a codebtor if your spouse is filing w'rth you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (OfRcia! Form •!OSD), Schedule E/F (Official Form 106E/F), or Schedufe G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to filt out Column 2.

       Column ^.'Yourcodebtor                                                                           Column 2: The creditor to whom you owe the debt

                                                                                                        Check ai! scheduies that appiy:

3.1
           C/<g_ \^ <rr^ <^c J^t^-? o^ /^ ^A                                                            Q Schedule DJine


      ^-L^y^^^^^^
         Name f ^ A ^^¥
                                                                                                        Q Schedule E/F, iine
        "Numbar 'Street ' ' '
                                                                                                         Q Schedule G, iine

         City
             I^L^JS ^_A^L                                          ^
                                                                   State
                                                                                             9^

3.2
          <-^ / 7 ^ ^ KJL ^                                                                                               /t/0^
                                                                                                        Q Schedule D, line

         "ZJ_^_L f^t                    C^L/ 7^                            <~r                          Q Schedule E/F, line


                                                             >^
         Number Street                                                                                      Schedule G, fine
           ^/J=>^: >L^ ) \^
                                                                                            ^-r-^
        City                                                       State                   ZIP Code

3.3
                                                                                                        Q Schedule D, line
         Name
                                                                                                        Q Schedule E/F, line
        Number Street                                                                                   Q Schedule G, !ine

        City                                                       State                   Zip Code



Offidai Form 106H                                                          Schedule H: Your Codebtors                                      page 1 of.
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                                            EtHiaWBIsI




  Debtor 1
                      First Name               Middle Name           Last Name


  Debtor 2
  {Spouse, if filing) first Name               MfeMte Name           Last Name



  United States Bankruptcy Court for the:   District of Arizona

  Case number                                                                                       Check if this is:
  (!f known)
                                                                                                    Q An amended fiiing
                                                                                                    Q A supplement showing postpetition chapter 13
                                                                                                        income as of the foiioviflng date:

Official Form 106!                                                                                      MM / DD/ YYYY

                                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are mamett and not filing jointly, and yourspouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach s
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question,


                    Describe Employment


 1. Fill in your employment
    information.                                                          Debtor 1                                  Debtor 2 or non-fHing spouse

    If you have more than one job,
    attach a separate page with
    information about additional            Employment status           Q Employed                                  D Employed
    employers.                                                          1-1 Not employed                            Q Not employed

    Include part-time, seasonal, or
    self-employed work.
                                            Occupation
    Occupation may include student
    or homemaker, if it applies.

                                            Employer's name


                                            Employer's address
                                                                       Number Street                              Number Street




                                                                       City            State ZIP Code             Crty                     State ZIP Code

                                            How long employed there?



                   Gsve Details About Monthly Income

    Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-ffljng spouse have more than one employer, combine the information for aif employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form-

                                                                                               For Debtor t        For Debtor 2 or
                                                                                                                   non-filing spouse

 2. List monthly gross wages, salary, and commissions (before ali payrolf
    deductions). If not paid monthly, calculate what the monthly wage would be. 2.


 3. Estimate and list monthly overtime pay.                                            3. +$


 4. Calculate gross income. Add line 2 + line 3.                                       4.




Official Form 1061                                                Schedule I: Your Income                                                       page 1

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                                                             Main Document    Page 22 of 39
Debtor 1                                                                                                                                   Case number wimavn^




                                                                                                                                        For Debtor 1             For Debtor 2 or
                                                                                                                                                                 non-filinct spouse

    Copy    line   4   here...............................................................................................   "^   4.




 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions 5a. $

     Sb. Mandatory contributions for retirement plans                                                                             5b. $.                           s-

     5c- Voluntary contributions for retirement plans                                                                             5c. $                            s_

     5d. Required repayments of retirement fund ioans                                                                             5d. $_                           $-

     5e. Insurance                                                                                                                5e. $,                           s_

     5f. Domestic support obligations                                                                                             5f. $„                           $-

     5g- Union dues                                                                                                                     $-                         SL
     5h. Other deductions. Specify:                                                                                               5h. +$                         + $_

  6. Add the payroll deductions. Add lines 5a + Sb + 5c + 5d + 5e +5f + 5g + 5h. 6.6. $_                                                                           $-



  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                          7. $_                            s-



    List all other income regularly received:
     8a. Net income from rental property and from operating a business,
           profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                                                      8a.

     Sb. Interest and dhfidends Sb. $
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousa! support, child support, maintenance, divorce
           settiement, and property settlement. 8c.

     8d Unemployment compensation                                                                                                 8d. $_

     Be. Sociai Security                                                                                                      8e. $

     8f. Other government assistance that you regularly receive
           Include cash assistance and the vaiue (if known) of any non-cash assistance
           that you receive, such as food stamps (benefits under the Supplemental
           Nutntion Assistance Program) or housing subsidies.
           Specify:                                                                          ,           8f.

     Sg. Pension or retirement income

     8h. Other monthly income. Specify:                                                                                       8h. +$                             +$_

 9. Add all other income. Add lines 8a+ 8b+ 8c+ 8d + 8e+ 8f +8g + 8h.                                                             9.



10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in fine 10 for Debtor 1 and Debtor 2 or non-fiiing spouse.                                                    10.


n. State alt other regular contributions to the expenses that you list in Schedule J.
    Indude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

    Do not inciude any amounts already included in iines 2-10 or amounts that are not available to pay expenses listed in Schedu!e J.


    Specify:_„„__„_ 11-'i' S_
12. Add the amount in the iast column of fine 10 to the amount in line 11-The result is the combined monthly income.
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Infbrmatson, sf rt applies                                                              12.
                                                                                                                                                                                         Combined
                                                                                                                                                                                         monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     Q No.
     Q Yes. Explain:



Official Form 1061                                                                          Schedule I: Your Income                                                                        page 2

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                                                                             Main Document    Page 23 of 39
    Debtor 1
                    HretName MfctdleName                                                          Check if th is is:
    Debtor 2
    (Spouse, S filing) Fi^tName • MBdteKame
                                                                                                      Q An amended filing
                                                                                                  a A supplement showing postpetition chapter 13
    United States Bankruptcy Court for the: District of Arizona                                         expenses as of the fbflowing date:

    Case number                                                                                         MM / DD / YYYY
    (!f known)



  Official Form 106J
                                                                                                                                                 12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplyin9 correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

                  Describe Your Household

 1. Is this a joint case?

    Q No. Go to line 2.
    Q Yes. Does Debtor 2 Ihre in a separate household?

               0 No
               Q Yes. Debtor 2 must file Oflida! Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?               Q No                                 Dependent's relationship to               Dependent's   Does dependent live
    Do not list Debtor 1 and              Q Yes. Fill out this information for Debtor 1 or Debtor 2                      age           with you?
    Debtor 2.                                each dependent
                                                                                                                                       U No
    Do not state the dependents'
    names-
                                                                                                                                       Q Yes
                                                                                                                                       a No
                                                                                                                                       a Yes

                                                                                                                                       0 No
                                                                                                                                       a Yes

                                                                                                                                       a No
                                                                                                                                       Q Yes

                                                                                                                                       a No
                                                                                                                                       a Yes

 3. Do your expenses include
                                          Q No
    expenses of people other than
    yourself and your dependents?         Q Yes

               Estimate Your Ongoing Montitly Expenses

  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. if this is a suppfementai Schedule J, check the box at the top of the form and fill in the
  applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule!: Your Income (Official Form 106).) Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any              rent            for         the             ground                 or       lot         4.

     If not included in fine 4:
     4a.              Rea!                  estate                     taxes                     4a.            S_

     4b. Property, homeowner's, or renter's insurance 4b. $.

     4c. Home maintenance, repair, and upkeep expenses 4c. $„

     4d. Homeowner's association or condominium dues 4d. S


OfficiaiForm 106J                                           Schedule J: Your Expenses                                                        page 1

         Case 2:23-bk-03897-EPB                        Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                       Desc
                                                       Main Document    Page 24 of 39
 Debtor 1                                                                               Case number (ffknoun?




                                                                                                                        Your expenses



  5. Additional mortgage payments for your residence, such as home equity ioans

  6. Utilities:
     6a- Electricity, heat, natural gas                                                                         6a.


     6b. Water, sewer, gartoage coilection                                                                      6b.

     6c. Telephone, ceii phone, Entemef, safeflrte, and cabie services                                          6a

     6d. Other. Specify:,                                                                                       6d.


  7. Food and housekeeping supplies                                                                             7.



  8. Childcare and children's education costs                                                                   8.


  9. Clothing, laundry, and dry cleaning                                                                        9.


10. Personal care products and services                                                                         10.


11. lUiedica! and dentai expenses                                                                               11.


12, Transportation. Include gas, maintenance, bus orfrain fare.
     Do not include car payments.                                                                               12.


13. Entertainment, dubs, recreation, newspapers, magazines, and books                                           13.


14. Charitable contributions and religious donations                                                            14.


 15. insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

     l5a. Life insurance                                                                                        15a.


     l5b. Health insurance                                                                                      -i5b.


     l5c. Vehicle insurance                                                                                     15c.


     •;5d. Other insurance-Specify:.                                                                            15d.



16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20-

     SpecKy:                                                                                                    16.


17. Installment or lease payments:

     l7a. Car payments for Vehicle 1                                                                            17a.


     l7b. Car payments for Vehicle 2                                                                            17b.


     l7c. Other. Specify:.                                                                                      17c.


     l7d. Other. Specify:.                                                                                      17d.


18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                            18.



19. Other payments you make to support others who do not live v/\Vn you.

    Specify:.                                                                                                    19.


20. Other rsai property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     20a. Mortgages on other property 20a. $.

     20b,               Reai                 estate                   taxes             20&.                     $.

     20c. Property, homeowner's, or renter's insurance 20c. S.

     20d. Maintenance, repair, and upkeep expenses 20d. $.

     20e. Homeowner's association or condominium dues 20e. $.




Offidaf Form 106J                                         Schedule J: Your Expenses                                                     page 2


         Case 2:23-bk-03897-EPB                      Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                    Desc
                                                     Main Document    Page 25 of 39
 Debtor                  1     Case               number                       ufima.vn^
              Firet Name MStBe Warns Last fteme




21.            Other.                           Specify:                               _       21.        +$



22. Calculate your monthly expenses.

    22a-Add lines 4 through 21. 22a. $

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from CffidaS Form 106J-2 22b. $

    22c. Add iine 22a and 22b. The resuit is your montliiy expenses. 22c. $




23. Calculate your monthly net income.

   23a. Copy fine 12 (your combined monthly /ncome} from Schedule I. 23a.

   23b. Copy your monthly expenses from line 22c above. 23b. — $


   23c. Subtract your monthly expenses from your monthly income.
         The resuit is your monthly net income. 23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or cto you expect your
   mortgage payment to increase or decrease because of a modrfica&'on to the terms of your mortgage?

   i-l No.

   Q Yes. Explain here:




Official Form 106J Schedule J: Your Expenses page 3


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                                                    Main Document    Page 26 of 39
Debtor 1       TREVOR                    DOUGLAS                      REiD
               FETSI: Name


Debtor 2        N/A
(Spouse, iffiiing) RrsiNanre MydieName


United States Bankruptcy Court for the: District of Arizona

Case number 9-9.Z-hk-mRQ7-.FPR
(If known)
                                                                                                                                                Q Check if this is an
                                                                                                                                                   amended filing



 Official Form 106Dec
                                                                                                                                                              12/15

 If two married people are filing together, both are equally responsible for supplying correct information.

 You must file this form whenever you fife bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection wfth a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.




     Did ypft pay or agree to pay someone who is NOT an attomsy to help you fiii out bankruptcy forms?



           Yes. Name of person.                                                          .. Attach Bankruptcy Petition Preparer's Notice, Declaration, and

                                                                                          Signature (Official Form 119).




     Under penalty of perjury, E deciare that I have read the summary and schedules filed with this declaration and
     that they are true and correct.




      Signature of Debtpr 1



      Date    zZ^A^_3
             MM//DD / Yy^
                                                                        Date
                                                                               MM/ DD / YYYY




OfRdatForm106Dec                                              Declaration About an Individual Debtor's Schedules


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                                                          Main Document    Page 27 of 39
   Debtor 1             TREVOR             DOUGLAS                      REID
                        First Name


   Debtor 2             N/A
   (Spouse, if filing) FretName MiddEeMarae


   United States Baniaxiptcy Court forthe: District of Arizona

   Case number 2^3-bk-Q3897-EPB
    (if known)                                                                                                                   Q Check if this is an
                                                                                                                                    amended fi!ing




  Official Form 107
                                                                                                                                                   04/22
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.



                   Give DetaEis About Your MaritaB Status and Where You lived Before


   1. What is your current marital status?

        Q Mamerf
        0 Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

       a No
       Q Yes. List at! of the places you lived in the fast 3 years. Do not include where you five now.

                 Debtor 1:                                       Dates Debtor 1 Debtor 2;                                             Dates Debtor 2
                                                                 lived there                                                          iSved there


                                                                                      Same ss Debtor 1                                  Same as Debtor 1


                                                                 From                                                                   From
                 Number Street                                                        Number Street
                                                                 To                                                                     To




                 City                     State 2iP Code                              City                    State Z!P Code


                                                                                  Q Same as Debtor 1                                    Same as Debtor 1


                                                                 From                                                                   From
                 Number Street                                                        Number Street
                                                                 To                                                                     To




                 City                     State ZIP Code                              City                    State ZIP Code


  3. Within the last 8 years, did you ever live with a spouse or lega! equivalent in a community property state or territory? {Community property
      states and temtories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       Q NO
       Q Yes. Make sure you fif! out Schedule H: Your Codebtors (Official Form 106H).




                 Explain the Sources of Your Income

OfRdaIFonn107                                 Statement of Financial Affairs for Individuals Fiiing for Bankruptcy                        page 1



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Debtor 1       TREVOR                 DOUGLAS                     REID                           Case number (ifknovm\
                                                                                                                         2:23-bk-03897-EPB




     Did you have any income from employment or from operating a business during this year or the two previous calendar yeafS?
     Fill in the totai amount of income you received from all Jobs and a!i businesses, including part-time activities-
     if you are fifing a joint case and you have income that you receive together, list It only once under Debtor 1.

     Q No
     Q Yes. Fill in the detafls.

                                                      Debtor 1                                            De&torZ

                                                      Sources of income          Gross income             Sources of income          Gross income
                                                      Check d) that apply.       (before deductions and   Check a!! that apply.      (before deducSons and
                                                                                 exclusions)                                         exclusions)

                                                      Q Wages, commissions,                                Q Wages, commissions,
            From January 1 of current year until
                                                          bonuses,tips                                        bonuses, tips
            the date you filed for bankruptcy:
                                                          Operating a business                             Q Operating a business


                                                      Q Wages, commissions,                                    Wages, commissions,
            For last calendar year:
                                                         bonuses, tips                                         bonuses, tips

            (January 1 to December 31,             J Q Operating a business                                Q Operating a business



                                                      Q Wages, commissions,                                    Wages, commissions.
            For the calendar year before that:
                                                         bonuses, iips                                         bonuses,tips
            (January 1 to December 31 ,            .} U Operating a business                              Q Operating a business




 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardiess of whether that income is taxable. Examples of o^er/ncome are alimony; diflci support Social Security,
    unemployment, and other public benefit payments; pensions; rentai income; interest; dividends; money collected from lawsuits; royaities; and
    gambling and lottery winnings. If you are filing a Joint case and you have income that you received together, list it only once under Debtor 1 -

     List each source and the gross income from each source separately. Do not include income that you listed in iine 4.

     a No
     Q Yes. Fill in me details-

                                                      Debtor 1                                              Debtor 2


                                                      Sources of income          Gross income from Sources of income                 Gross income from
                                                      Describe below.            each source Describe below.                         each source
                                                                                 (before deductions and                              (before deductions and
                                                                                 exciuaons)                                          exclusions)




            From January 1 of current year until
            the date you filed for bankruptcy:




            For last calendar year:

            (January 1 to December 31 ,
                                          YYYY




            For the calendar year before that:

            (January 1 to December 31 ,




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2



           Case 2:23-bk-03897-EPB                    Doc 25 Filed 07/10/23 Entered 07/10/23 16:24:21                                             Desc
                                                     Main Document    Page 29 of 39
Debtor 1     TREVOR                      DOUGLAS                   RE1D                           Case number ^^ 2:23"bk-03897-EPB
              First Name MiddteName




             List Certain Payments You Made Before You Hied for Banferuptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     a No- Neither Debtor 1 nor Debtor 2 has primariiy consumer debts. Consumer debts are defined in 11 U-S.C. § 101 (8) as
             "incurred by an individual primarily for a personal, family, or household purpose."
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              Q No. Go to line 7.

              Q Yes- List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                           totai amount you paid that creditor. Do not include payments for domestic support obiigata'ons, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
              * Subject to adjusfrnent on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

     [-I Yes. Debtor 1 or Debtor 2 or both have primarily consumer debte.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a totaf of $600 or more?

              Q No. Go to fine 7.

              Q Yes. List below each creditor to whom you paid a total of S600 or more and the totai amount you paid that
                      creditor. Do not include payments for domestic support obligations, such as child support and
                      alimony. Also, do not inclucte payments to an attorney for this bankruptcy case.


                                                                    Gates of Total amount paid              Amountyou stilt owe WasthEs paymentfbr.,
                                                                    payment



                                                                                                                                        Mortgage
                    Creditor's Name
                                                                                                                                     a Car

                    Number Street                                                                                                    Q Credit card

                                                                                                                                        Loan repayment

                                                                                                                                     01 Suppliers or vendors

                                                                                                                                     Q Other _
                    City                  State ZIP Code




                                                                                                                                        Mortgage
                    Creditors Name
                                                                                                                                     a Car

                                                                                                                                     a Credit card
                    Number Street

                                                                                                                                        Loan repayment

                                                                                                                                        Suppliers or vendors

                                                                                                                                     Q Other.
                    Crty                 State ZIP Code




                                                                                                                                     E-l Mortgage
                    Crsditofs Name
                                                                                                                                     a Car

                                                                                                                                     Q Credit card
                    Number Street

                                                                                                                                        Loan repayment

                                                                                                                                        Suppliers or vendors

                                                                                                                                     Q Other
                    Crty                 State ZIP Code




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3



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Debtor 1 TREVOR                       DOUGLAS                   RE1D                                         ,,^,2:23-bk-03897-EPB
                                                                                               Case number wferoim?.




  7. Wrthin 1 year before you fiied for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in confroi, or owner of 20% or more of their voting secunties; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     Q No
     E—E Yes. List alt payments to an insider.
                                                                 Dates of Totai amount Amount you stiti Reason for this payment
                                                                 payment paid owe



           Insider's Name




          Number Street




          (%y                           State ZIP Cods




          insider's Name



          Number Street




          City                          State Z]P Code


    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    include payments on debts guaranteed or cosigned by an insider.

     a No
     Q Yes. List aH payments that benefited an insider.

                                                               Dates of Total amount Amount you still Reason for this payment
                                                               payment paid                               include creditor's name



                                                                              s_
          Insidet's Hame




          Number Street




          City                          State ZIP Code




          Insider's Name




          Number Street




          City                          State Z!P Code



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                 identify Legal Actions, Repossessions, and Foreclosures

  9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
      List aii such matters, including persona! injury cases, smail claims actions, divorces, coftecfion surts, paternity actions, support or custody modifications,
      and contract disputes.

            No
      a Yes. Fill in the detaiis.

                                                          Nature of the case                  Court or agency                                 Status of the case



            Case title_                                                                      Court Name
                                                                                                                                              Q Pending
                                                                                                                                              Q On appeal

                                                                                             Number Street                                   Q Concluded

            Case number
                                                                                             City                 State ZIP Code




            Case title_                                                                     Court Name
                                                                                                                                             Q Pending

                                                                                                                                             U On appeal

                                                                                            Number S&eet                                     Q Conduded

            Case number
                                                                                            City                 State ZIP Code


  10. Within 1 year before you fiied for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check aii that apply and fi!i in the details below.

      Q No. Go to line 11.
      Q Yes. Fill in the information below.

                                                                   Describe the property                                   Date            Value of the property




                 Creditor's Name




                 Number Street                                     Explain what happened

                                                                   Q Property was repossessed.
                                                                   a Property was foredosed.
                                                                   Q Property was garnished.
                 City                    State Z!P Code- Q Property was attached, seized, or levied.

                                                                   Describe the property                                   Date             Value trfthe properii




                 Creditor's Name




                 Number Street
                                                                   Explain what happened


                                                                   Q Property was repossessed.
                                                                   Q Property was foreclosed.
                                                                   Q Property was garnished.
                 Crty                    State ZIP Code
                                                                   Q Property was attached, seized, or levied.



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Debtor 1 TREVOR DOUGLAS REID Case n.mber ,^2,23^038ff7^PB_
              Bret Name Middte Name Last Name




 11. Within 90 days before you liied for bankruptcy, did any creditor, idcfuding a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?

    a No
    Q Yes. Fill in the details.

                                                   Describe the action the creditor took Date action Amount
                                                                                            was taken
        Creditor's Name




        Number Street




        City State ZIP Code Last 4 digits of account number XXXX-



 12, Wrthin 1 yearbeforeyoufiiedforbankruptcy,wasany of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another officsaf?

    a No
    a Yes

            List Certain Gifts and Confributicms


 13. WTrthin 2 years before you filed for bankruptcy, did you ghre any gifts with a total value of more than $500 per person?

    a No
    Q Yes. Fjfi in the detaiis for each gift.


         Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
         per            person                    the           gifts




                                                                                                                                $_
       Person to Whom You Gave the Grft



                                                                                                                                $„



       Number Street




       Crty State ZIP Code


       Person's relationship to you



       Gifts wrth a tofaivaiue of more than $500 Descnbe the gifts Dates you gave Value
       per            person                   the           gifts




       Person to Whom You Gave the Gift




       Number Street




       City State ZIP Code


       Person's relationship to you



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              First Name Maidss flsaie Last Name




 14. WTithin 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    a No
    a Yes. Fil! in the details for each gift or contribution.

          Gifts or contributions to charities Describe what you contributed Date you Value
          thattotal more than $(»00 contributed




        Chant/s Name




        Number Street




        City State ZIP Code




              List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankntptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

    a No
    1..1 Yes. Fiti in the details.

         Describe the property you tost and D^cribe any insurance coverage for the loss Date of your Vaiue of property
         how                the            loss         occurred                          ....       ...      .    .   loss   lost
                                                       Include the amount that insurance has paid. Ust pending insurance
                                                       darms on line 33 0'f Schedule A/B: Property.




             List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
    you consulted about seeking bankruptcy or preparing a banhruptey petiSon?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    a No
    a Yes. Fjli in the detaiis.

                                                       Description and value of any property transferred Date payment or Amount of payment
                                                                                                             transfer was
         Person Who Was Paid                                                                                 made



         Number Street




         City State ZIP Cods



         Email orwebsite address


         Person Who Made the Payment if Not You



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Debtor 1          TREVOR                  DOUGLAS                   REID                            Case number (ffftnown;.   2:23-bk-03897-EPB




                                                          Description and value of any property transferred                    Date payment or Amount of
                                                                                                                               transfer was made payment


           Person Who Was Paid



           Number Street




           City                      State ZIPCoOe




           Email orwebsite address



           Person Who Made ths Payment if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deai with your creditors or to make payments to your creditors?
     Do not include any payment or transfer ftiat you listed on line 16.



     a Yes. Fif! in the details.

                                                          Description and value of any property transferred                    Date payment or Amount of payment
                                                                                                                               transfer was
                                                                                                                               made
           Person Who Was Paid



           Number Street




           Ciiy                      State ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include grfts and transfers that you have already listed on this statement
     a No
     Q Yes. R!i in the details.

                                                         Description and value of property         Describe any property or payments received Date transfer
                                                         transferred                               or debts paid in exchange was made

           Person Who Received Transfer



           Number Street




           City State ZIP Code


           Person's relationship to you



           Person Who Received Transfer



           'iumber SireeE




           CKy State ZIP Code

           Person's relationship to you

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                   First Name Mnldte^te




  19. Within 10 years before you filed for banknipfcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? 0'hese are often called asset-protectson dewces.}

      a No
      Q Yes. Fill in the details.

                                                          Description and value of the property transferred                                   Date transfer
                                                                                                                                              was made



           Name of tmst




  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferrecf?
     Include checking, savings, money market, or other financiai accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

     Q No
     Q Yes. Rll in the (ietaiis.

                                                           Last4 digits of account number Type of account or Date account was Last balance before
                                                                                        instrument closed, sold, moved, closing ortransfer
                                                                                                              or fcransferred


            Fjanre of Financial InstHuSon
                                                          xxxx-                               Q Checking

            Number Street
                                                                                              Q Savings

                                                                                                  Money market

                                                                                              Q Brokerage
            City                      State ZIP Code
                                                                                              Do?er_


                                                          xxxx-_                              Q Checking
            Name of Financial Institution
                                                                                              Q Savings

           Num&er Street                                                                      a TUIoney market

                                                                                              Q Brokerage

                                                                                              Q Other.
           City                       State ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     Q No
     D Yes. Fiil in the detaiis.
                                                          Who else had access to it?                     Describe the contents                   Do you still
                                                                                                                                                 have it?

                                                                                                                                                 a No
           Name of Finaoclai fnsSfartion                                                                                                         a Yes


           Number Street                                 Number Street



                                                         City State ZIP Code
           City                       State ZIP Code



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 22. Have you stored property in a storage unit or pEace other than your home within 1 year before you filed for bankruptcy?
     a No
     Q Yes. Fill in the detaiis.
                                                           Who else has or had access to rt?                Describe the contents                   Do you still
                                                                                                                                                    have rt?


                                                                                                                                                     UNO
             Mame of Storage Facility
                                                                                                                                                     a Yes

             Numbsr Street                                 Number Street



                                                           C'rtyStete ZIP Code

             City                       State ZIP Code


                    adentEfy property You Hold or Control for Someone Rise

  23. Do you hold or control any property that someone else owns? Enclude any property you borrowed from, are storing for,
     or hoid in trust for someone.
     a No
     Q Yes. Fill in the details.
                                                          V?ere is the property? Describe the property                                          Value



             Owner's Name


                                                         Number Street
             Number Street




                                                         City                        State ZIP Code
             City State ZIP Code

                    Give Details About Envlronmenta! Infomiation

  For the purpose of Part 10, the foilowing definitions apply:
  c; Environmental law means any federal, state, or iocal statute or regulation concerning poiiution; contaminstion, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controHing the cleanup of these substances, wastes, or material.

     Site means any location, facility, or property as defined under any environmentai law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, inciudmg disposa! sites.

  ^ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, poliutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

     a No
     Q Yes. Rd m the deEaits.

                                                          Govemmentef unit                     Environmental law, ifyou know it                Date of notice




                                                         Governmental unit



           Number Street                                 Number Street



                                                         City                State ZIP Code




           Crty                     State ZP Code



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                    First Name Mfsftlte Man-e




  25. Have you notified! any govemmenta! unit of any retease of hazardous material?



     Q Yes. Filf in the details.
                                                             Governmental unit                       Environmental (aw, if you know it                   Date of notice




            Mame of site                                    Govemmsntai unit


            Number Street                                   Ntanber Street




                                                            City                State ZfP Code


            (Trty                      State ZIP Code



  26. Have you been a party in any judicial or admjnEs&athre proceeding under any enwronmentai law? Include settlements and oniere.

     a No
     Q Yes. Fit! in the details.
                                                                                                                                                          Status of the
                                                              Court or agency                             Nature of the case


           Case tide,
                                                                                                                                                          01 Pending
                                                              Court Name

                                                                                                                                                          0 On appeal
                                                              lumber Street                                                                               a Conciyded


           Case number                                        City                  State ZIPCcxie



                     ©Eve Details A&mrt Your Business or Coniseciions t® Any SusSness

 27. Wrtftin 4 years before you filed for bankruptcy, did you own a business or have any of ?e following connections to any business?
           Q A sole proprietor or self-emptoyed in a trade, profession, or other acth/ify, either full-time or part-time
           Q A member of a irmited liability company (LLC) or limited liafaiEify psrtnership (LLP)
           Q A partner in a partnership
           a An officer, director, or managing executive of a corporation

           Q An owner of at ieast 5% of the voting or equity securities of a corporation

     Q No.None of the above applies. Go to Part 12.
     Q Yes. Check all that apply above and fill in the details below for each business.
                                                             Describe the nature of the business                        Empfoyer identification number
                                                                                                                        Do not include Social Security number or ITIN.
            Business Name


                                                                                                                        BM: _ _ -.
            Number Street
                                                             Name of accountant or bookkeeper                           Dates business existed


                                                                                                                        From                To
            cay                        State ZIP Code
                                                             Describe the nature of the business                        Employer Identification number
                                                                                                                        Do not incfutie Social Secunfy numter or (TIN.
            Business Name




            Number Street
                                                             Name of accountant or bookkeeper                           Dates business existed



                                                                                                                        From               To
            City                       State ZIP Code

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                                                                                                 Case number (iftoiown:




                                                                                                                 Employer idetrtification number
                                                        Describe the nature of the business
                                                                                                                 Do not include Social Security number or ITIN.
             Business Name

                                                                                                                 BN: _ _ -.
             Number Street
                                                        Name of accountsnt or bookkeeper                         Dates business existed




                                                                                                                 From               To
             City                   State ZIP Cotte




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include ai! financial
      institutions, creditors, or other parties.



      a Yes. Fill in the details beiow.

                                                        Date issued




                                                        MM/DD/YYYY


            Number Street




            City                    State ZIP Code




       I have read the answers on this Statement of Financial Affairs and any attachments, and! declare under penalty of perjury that the
       answers are true and correct 1 understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152,1341, 1519, and 3571.




            Signature vf Debtor 1                                       Signature of DeSstor 2



            Date                                                        Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Oificiai Form 107}?

       a No
       a Yes


      Did you pay or agree to pay someone who is not an attorney to help you fifl out bankruptcy forms?
       a No
       Q Yes. Name of person-^-—-^-,-^ • Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                         Declaration, and Signature (Offida! Porm 119).




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